        Case 3:22-cr-01754-LS          Document 32          Filed 04/19/23    Page 1 of 25
                                                                                           FILED
                                                                                        April 19, 2023
                        IN THE UNITED STATES DISTRICT COURT                         CLERK, U.S. DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                          WESTERN DISTRICT OF TEXAS

                                  EL PASO DIVISION                                                DT
                                                                                 BY: ________________________________
                                                                                                         DEPUTY


 UNITED STATES OF AMERICA,                           §   CAUSE NO. EP-22-CR-01754-DB
                                                     §
         Plaintiff,                                  §
                                                     §   SUPERSEDING
 v.                                                  §   INDICTMENT
                                                     §
 JASON LEE WAGNER,                                   §   CT 1: 18 U.S.C. § 371-Conspiracy;
                                                     §   CT 2: 18 U.S.C. § 545-Smuggling into the U.S.;
         Defendant.                                  §   CT 3: 18 U.S.C. § 2-Aiding and Abetting
                                                     §
                                                     §
                                                     §

       The GRAND JURY charges that at all times material to this Indictment:

                                          COUNT 1
                                          Conspiracy
                                       (18 U.S.C. § 371)
                              The Defendant and Co-Conspirators

       1.      At all times relevant to this Indictment, JASON LEE WAGNER (“WAGNER”

or “Defendant”) was a resident of Franklin, Tennessee, and in the business of buying and selling

reptiles, including protected species of reptiles.

       2.      CC-1, CC-2, CC-3, and CC-4 (referred to collectively as “the suppliers”) were co-

conspirators not named as defendants herein, and were Mexican nationals residing in Mexico.

They were in the business of selling and, occasionally, buying wildlife, including protected and

endangered species of wildlife, to and from purchasers in the United States and elsewhere. The

suppliers used social media to advertise live animals for sale, negotiate a price for the animals,

and arrange with co-conspirators, for the transport of the purchased animals to purchasers.

       3.      MM-1, a co-conspirator not named as a defendant herein, was a United States

citizen residing in El Paso, Texas, who was in the business of working with WAGNER and the

suppliers to smuggle wildlife, including protected and endangered species of wildlife, from
        Case 3:22-cr-01754-LS            Document 32      Filed 04/19/23       Page 2 of 25


Mexico to the United States. It was the role of MM-1 in this conspiracy to transport the

purchased animals from Juarez, Mexico, to El Paso, Texas, where MM-1 then arranged for

delivery of the animals to purchasers.

       4.      MM-2, a co-conspirator not named as a defendant herein, was a Mexican national

residing in Juarez, Mexico, who was in the business of working with the suppliers as a

middleman to smuggle protected and endangered wildlife from Mexico to the United States. It

was the role of MM-2 in this conspiracy to retrieve the wildlife delivered to Juarez, Mexico, and

deliver it to another co-conspirator at a pre-determined location on the Mexico-side of the U.S. -

Mexico border. When the suppliers purchased, or bartered, animals with individuals in the

United States, including WAGNER, it was the role of MM-2 to retrieve animals from a pre-

determined location in El Paso, Texas, on behalf of the suppliers and other co-conspirators,

including WAGNER, and to transport those animals into Mexico where MM-2 then arranged for

the delivery of the animals to the suppliers in Mexico.

       5.      All imported wildlife must be declared to the U.S. Fish and Wildlife Service

(“USFWS”) in the United States. A true and complete declaration Form 3-177, Declaration for

Importation or Exportation of Fish or Wildlife, must be filed at or before the time of importation.

16 U.S.C. § 1538(e); 50 C.F.R. § 14.61. Federal regulations also require that the USFWS clear

all wildlife imported into the United States, and that the importer or his agent make available the

wildlife being imported to the officer, as well as all required permits, licenses, or other

documents. 50 C.F.R. § 14.52. The wildlife may only be cleared at certain ports authorized in the

regulations, unless specifically authorized elsewhere. 50 C.F.R. § 14.11.

       6.      The Convention on International Trade in Endangered Species of Wild Flora and

Fauna (“CITES”) was an international agreement among approximately 183 governments,

including the United States and Mexico, to protect fish, wildlife, and plants that are, or may


                                                  2
        Case 3:22-cr-01754-LS          Document 32       Filed 04/19/23      Page 3 of 25


become, threatened with extinction. CITES establishes import and export restrictions to protect

these species from overexploitation through international trade.

        7.      Under CITES, species are protected according to a classification system known as

“appendices.” International trade in species listed in these appendices is monitored and regulated

by permits and quotas. The permit restrictions apply to live and dead specimens, as well as the

skins, parts, and products made in whole or in part from a listed species.

        8.      Wildlife and plant species listed in Appendix I of CITES are threatened with

extinction. Those listed in Appendix II of CITES include species that are not presently

threatened with extinction but may become so if their trade is not regulated. Appendix II species

may be allowed in trade; however, they are strictly regulated and monitored. To import an

Appendix II species into the United States, the exporter must obtain a valid “foreign export

permit,” issued by the specimen's country of origin, prior to importation.

        9.      Abronia is a genus of lizards found in Mexico and throughout Central America

and northeastern South America. Abronia are small arboreal lizards which inhabit cloud forests

at high elevations. The entire Abronia genus is listed in CITES Appendices I or II

                                         The Conspiracy

        10.     Beginning on an unknown date, but at least as early as March 2015, and

continuing through at least December 11, 2019, in the Western District of Texas and elsewhere,

                                      JASON LEE WAGNER,

defendant herein, knowingly combined, conspired, confederated, and agreed with others known

and unknown, including CC-1, CC-2, CC-3, CC-4, MM-1, and MM-2 to commit certain offenses

against the United States, that is:

                    a. to knowingly import and bring into the United States, merchandise,
                       namely wildlife, including CITES-protected wildlife, contrary to laws and
                       regulations of the United States, and receive, conceal, buy, sell, and in any
                       manner facilitate the transportation, concealment, and sale of such

                                                  3
        Case 3:22-cr-01754-LS         Document 32         Filed 04/19/23      Page 4 of 25


                       merchandise after importation, knowing the same to have been imported
                       and brought into the United States contrary to laws and regulations of the
                       United States, in violation of Title 18, United States Code, Section 545;

                   b. to knowingly violate the Lacey Act’s trafficking provisions, 16 U.S.C. §§
                      3372(a), 3373(d)(1);

                   c. to defraud the United States or one or more of its agencies or departments
                      of and concerning its lawful governmental functions and rights, that is,
                      impede, impair, obstruct, and defeat, by deceitful and dishonest means, the
                      lawful and legitimate functions of the USFWS and United States Customs
                      and Border Protection in investigating and enforcing federal laws and
                      regulations related to wildlife trafficking, international trade, and border
                      management, in violation of Title 18, United States Code, Section 371.

                             Manner and Means of the Conspiracy

       The manner and means by which WAGNER and his co-conspirators sought to

accomplish the objects and purposes of the conspiracy included, among others, the following:

       11.     In furtherance of the conspiracy and to effect the illegal objects thereof,

WAGNER and others known and unknown, including the suppliers and middlemen, used social

media to purchase wildlife that the suppliers offered for sale, and to negotiate the terms of the

sale, including price, packaging, shipment, and delivery of the wildlife.

       12.     In furtherance of the conspiracy and to effect the illegal objects thereof, after the

suppliers and purchasers, including WAGNER, agreed to a sale, the suppliers would arrange for

MM-2 to retrieve the wildlife from the Juarez airport and delivere it, along with shipping labels,

to MM-1. MM-1 would then drive the wildlife from Juarez to his residence in El Paso, Texas.

       13.     In furtherance of the conspiracy and to effect the illegal objects thereof,

purchasers, including Wagner, paid MM-1 a “crossing fee” for each border crossing, the amount

of which depended on the number of animals transported, the size of the package(s), and, in

some cases, the risk of being detected by the authorities.

       14.     In furtherance of the conspiracy and to effect the illegal objects thereof, at his

residence, MM-1 removed the animals from their packaging. MM-1 would photograph any dead

                                                  4
           Case 3:22-cr-01754-LS       Document 32        Filed 04/19/23       Page 5 of 25


animal(s) and send the photo(s) to the supplier. MM-1 then re-packaged the live animals and

shipped them to the purchaser, including WAGNER, via U.S. Postal Service or private courier

service.

       15.      In furtherance of the conspiracy and to effect the illegal objects thereof,

WAGNER electronically transferred money, primarily via PayPal, to MM-1 in Texas to avoid

“leaving a digital history of transactions” to Mexico. WAGNER instructed MM-1 to send those

funds in directed amounts via electronic funds transfer or wire to the reptile suppliers in Mexico

for wildlife WAGNER purchased.

       16.      In furtherance of the conspiracy and to effect the illegal objects thereof,

WAGNER occasionally traded, or bartered, live animals with the suppliers in Mexico through

MM-1 and MM-2.

       17.      Beginning on a date not later than March 15, 2014, and continuing through at

least December 11, 2019, WAGNER purchased from the suppliers in Mexico, received, and

facilitated the transportation, concealment, and sale of wildlife after importation, of wildlife with

a market value in excess of $235,730. During that time-period, WAGNER paid MM-1 more

than $92,000 to transport wildlife across the U.S.-Mexico border.

                                          OVERT ACTS

       In furtherance of the conspiracy and in order to effect the objects thereof, WAGNER and

his co-conspirators committed the following overt acts, among others, in the Western District of

Texas and elsewhere:

                 May 2015 sale and smuggling of wildlife into the United States

       Overt Act 1: On or about May 14, 2015, WAGNER electronically messaged MM-1

regarding lizards he purchased from CC-3, in which he stated:




                                                  5
        Case 3:22-cr-01754-LS        Document 32        Filed 04/19/23       Page 6 of 25


       WAGNER:               I think [CC-3] sent the little lythros [a species of lizard]. Did you
                             get today? And tomorrow, get two pairs of graminea [a species of
                             lizard].

       MM-1:                 Yes. I do not know if I can send you the abronia tomorrow
                             because sometimes they are late. Do you want me to send you
                             everything together? Or will I send you only the little ones
                             tomorrow?

       WAGNER:               Send them together if possible. There is enough room in that box.
                             And you can send them in the afternoon…

       Overt Act 2: On or about May 16, 2015, WAGNER sent $450 via MoneyGram to CC-3

in Tlalmanalco, Mexico, as payment for the lizards.

       Overt Act 3: On or about May 16, 2015, WAGNER sent a $100 crossing fee via PayPal

to MM-1 for transporting the lizards discussed from Mexico into the United States.

       Overt Act 4: On or about May 19, 2015, WAGNER and MM-1 electronically messaged

the following regarding the shipment of lizards to WAGNER:

       MM-1:                 Friend, things are coming for you tomorrow. Can you send me a
                             label? Or if you prefer I pay it?

       WAGNER:               I’m going to send you a label. But the box is still here. I forgot to
                             send it to you.

       MM-1:                 I have boxes. Please send it [the label] via email.

       WAGNER:               Ok. Did it get there? Do you have cryopack or something for the
                             Abronia? If you take them to the UPS in the afternoon, like 6 or 7,
                             they will be fine to get me the next day before 10, even if there is
                             no cryopack.

       MM-1:                 Tomorrow, I’m going for your abronia, and Wednesday too.

       WAGNER:               I’m a bit animated. It’s like Christmas day, every time for me.

       MM-1:                 You also asked for a defensor [lizard] right?

       WAGNER:               Yes, sent funds to [CC-3] to collect two pairs.

       MM-1:                 I’ll send them to you friend.




                                                6
        Case 3:22-cr-01754-LS         Document 32        Filed 04/19/23     Page 7 of 25


       Overt Act 5: Later the same day, WAGNER electronically provided MM-1 a pre-paid

self-addressed UPS shipping label addressed to “Jason Wagner.”

       Overt Act 6: On or about May 21, 2015, MM-1 shipped the lizards from El Paso, Texas,

to WAGNER in Tennessee and sent the following electronic message:

       MM-1:                  Already sent it, friend.

       WAGNER:                Ok thank you very much.

       Overt Act 7: On or about and between May 22, 2015, and May 25, 2015, WAGNER

electronically messaged MM-1 to confirm receipt of the lizards. WAGNER and MM-1 further

discussed the poor condition of the lizards WAGNER received.

       MM-1:                  Did you get the box?

       WAGNER:                Yes, they came alive. Thank you. The box was very strong. The
                              defensor had to be 4 in a sock. Just for the future, they were too
                              tight. In fact, I prefer that CC-3 sent them, each animal in his own
                              sock. That way they do not bite each other and are not so detained
                              – I think it’s major for the animals. The defensors were in really
                              bad shape, it’s not your fault, I told CC-3. I think one is going to
                              die in the next two days…but you can see they have been poorly
                              treated for a few weeks to be in this condition, not eating or
                              drinking …

              March 2016 sale and smuggling of wildlife into the United States

       Overt Act 8: On or about February 28, 2016, WAGNER and MM-1 electronically

messaged each other regarding a shipment of lizards, stating:

       WAGNER:                Hi friend. Could you receive a shipment from [CC-3] this week?
                              Abronia.

       MM-1:                  Sure!

       WAGNER:                That’s fine! I’m going to deposit funds for your expenses.

       Overt Act 9: On or about February 28, 2016, WAGNER sent $150 via PayPal to MM-1

for transport of lizards from Mexico into the United States.




                                                 7
        Case 3:22-cr-01754-LS        Document 32        Filed 04/19/23       Page 8 of 25


       Overt Act 10: On or about March 1, 2016, WAGNER sent an electronic message to

MM-1 regarding a pre-paid UPS shipping label for the package of lizards MM-1 was to ship to

WAGNER in Tennessee.

       Overt Act 11: On or about March 3, 2016, WAGNER and MM-1 electronically

messaged the following, regarding the method to package a shipment of lizards:

       MM-1:                 After a while I’m going for your abronia.

       WAGNER:               Ah, very good!! :)

       MM-1:                 And today I will send them to you. Jason, do you need a heatpack?

       WAGNER:               Yes but rolled in paper so as not to touch the animals.

       MM-1:                 I am going to stick it to the ceiling of the cover, is that okay?

       WAGNER:               Yes and cover it in rolled paper and ribbon.

       Overt Act 12: On or about March 4, 2016, WAGNER electronically messaged MM-1

the following, to confirm receipt of the shipment of animals from MM-1, and in which MM-1

described an inspection during the border crossing from Mexico into United States:

       WAGNER:               I got the package. All alive and well. Thank you!

       MM-1:                 Yesterday I was stopped at the bridge for inspection.

       WAGNER:               Oh shoot. You pass through without any problems?

       MM-1:                 But nothing happened.

       WAGNER:               Phew. Good.

       MM-1:                 They just wanted to see my driver’s license, my insurance, my
                             truck, hood, end [sic] a quick inspection of the interior of the
                             vehicle, but they told me not to hop out. And two of your abronias
                             were loose in the box, one of them almost escaped when I opened
                             the box before the crossing. So, yes, it was kind of interesting!

       WAGNER:               I’m so glad you didn’t have any problems. Interesting is
                             okay…haha.




                                                  8
          Case 3:22-cr-01754-LS      Document 32        Filed 04/19/23      Page 9 of 25


              September 2016 sale and smuggling of wildlife into the United States

          Overt Act 13: On or about and between September 9, 2016, and September 11, 2016,

WAGNER, MM-1, CC-1, and CC-3 electronically messaged the following, regarding a sale and

shipment of lizards for WAGNER, stating:

          CC-3:               [To MM-1] Hey friend can I ask you a favor. I want to send some
                              things to Jason.

          MM-1                [To CC-3] Well. Of course!

          CC-3:               [To MM-1] I’m going to talk to him to see what day I can send.

          MM-1:               [To CC-1] I want to ask you for a favor with your shipping
                              contacts…Is for my friend Jason Wagner. Is about a few abronias.

          CC-1:               [To MM-1] Yes. Sure. When he wants me to send them?

          MM-1:               [To CC-1] Probably next Monday. It’s through [CC-3].

          WAGNER:             [To MM-1] Hey do you think we can use [CC-1] to have [CC-3]
                              ship a small group of Abronia to me by air cargo instead of using
                              ODM? I know it cost me a little bit more but I think it’s better for
                              the animals. What is your opinion.

          MM-1:               [To WAGNER] Yes, we can do it.

          WAGNER:             [To MM-1] OK then I will connect [CC-3] with [CC-1] for this
                              next shipment going out Monday.

          MM-1:               [To WAGNER] [CC-1] already knows of the Abronia and agrees.

          WAGNER:             [To MM-1] I told [CC-3] to contact him…It’s set up.

          Overt Act 14: On or about September 12, 2016, MM-1 and CC-1 electronically

messaged the following, regarding lizards WAGNER purchased from CC-3 and which CC-1 was

assisting to transport:

          MM-1:               Did [CC-3] deliver Jason’s [WAGNER’s] merchandise?

          CC-1:               Yes (MM-1). I already have the 13 abronia. 10 lythros and 3

deppei.


                                                9
       Case 3:22-cr-01754-LS         Document 32       Filed 04/19/23      Page 10 of 25


       Overt Act 15:          On or about September 12, 2016, WAGNER sent $200 via PayPal

to CC-1 to facilitate the transport of 13 lizards described in Overt Acts 13 and 14 to MM-1 and

then into the United States, with a memo attached that said “Calicos.” WAGNER made the

following entry in his ledger: “payments to [CC-1] for air cargo in DF @$200 each x 3.”

       Overt Act 16: On or about September 13, 2016, MM-1 transported more than 13 lizards

(including the above-mentioned Abronia), and additional iguanas from Mexico into the United

States, which he confirmed in the following electronic message to WAGNER:

       MM-1:                  I just got back from Juarez.

       WAGNER:                Ok…and are we good?

       MM-1:                  I just began charging at least $100.00 for each crossing per person.

       Overt Act 17: On or about September 13, 2016, WAGNER electronically sent MM-1 a

prepaid self-addressed UPS shipping label for the shipment of lizards to WAGNER.

       Overt Act 18: On or about September 13, 2016, MM-1 shipped 13 lizards from El Paso,

Texas, to WAGNER in Tennessee and confirmed the shipment with the following electronic

message:

       MM-1:                  Going to ship it.

       WAGNER:                Ok thx.

       MM-1:                  Shipped.

       Overt Act 19: On or about September 14, 2016, WAGNER exchanged the following

electronic messages with MM-1 to confirm receipt of lizards:

       MM-1:                  Did you get them?

       WAGNER:                Hello (MM-1), yes they arrived in good shape…I treated all for
                              mites, as precaution…thank you for taking care of the animals and
                              sending them to me. Interesting group.

       MM-1:                  They all looked very healthy to me.


                                                  10
       Case 3:22-cr-01754-LS         Document 32         Filed 04/19/23    Page 11 of 25


       WAGNER:                Very beautiful. I never would have guessed I could end up with so
                              many outstanding abronia…it’s fun. They are a little bit stressed
                              from the trip and maybe from all being together for a few weeks in
                              buckets, etc. It’s always this way…with larger groups. I prefer to
                              get smaller groups usually whenever possible because they don’t
                              get so stressed out from transit and holding enclosures.

       MM-1:                  Well, you are the Abronia guy!

       WAGNER:                I guess you are correct.

       Overt Act 20:          On or about September 17, 2016, WAGNER sent $100 via PayPal

to MM-1 for transport of the wildlife from Mexico into the United States and for facilitating the

transportation to WAGNER.

       Overt Act 21: On or about September 17, 2016, WAGNER sent $400 via

MoneyGram to CC-3 in Tlalmanalco, Mexico, as payment for the lizards.

                February 14, 2017 sale and smuggling of wildlife into Mexico

       Overt Act 22: On or about January 30, 2017, WAGNER and MM-1 exchanged the

following electronic messages regarding a shipment of lizards (panther chameleons obtained from an

individual in California identified as “JD,” and bearded dragons) from WAGNER, in Tennessee, to

JMG, an individual known to be in Mexico City, Mexico.

       MM-1:                  I arranged the shipping to JMG …It will not be through CC-1,
                              though. But same reliability. Via Aeromexico. A bit cheaper.

       WAGNER:                Ok that sounds very good. Is JMG aware of it yet?

       MM-1:                  So, $250.00 all included. Please make sure he compensates the
                              PayPal fee.

       WAGNER:                It will be me that pays the fee because I owe him still on the vacos
                              [Abronia vasconselosi]…I didn’t have all the money to pay him last
                              time he sent animals so I need to make sure he will agree to this
                              arrangement and then it should be fine…I am sure he will be good
                              with it. He may want to wait and combine the bearded dragons on the
                              same box. He wants 8-10 baby bearded dragons plus the panther
                              chameleons.

       MM-1:                  8-10 also?



                                                11
       Case 3:22-cr-01754-LS        Document 32        Filed 04/19/23       Page 12 of 25


       WAGNER:               yes. Everything is very small but the space required for shipping
                             panthers is a little bit more because they need air…in a deli cup.

       Overt Act 23: On or about February 11, 2017, WAGNER sent $350 via PayPal

to JD, an individual known to be in California, for the 10 bearded dragons he sold to JMG, and

described in Overt Act 22. WAGNER attached a memo to the PayPal payment that said “Thanks

JD! Payment for 10 colored dragons, including one young pair of yellow citrus dragons. Jason

WAGNER.”

       Overt Act 24: On February 13, 2017, WAGNER directed JD to send the 10 bearded

dragons directly to MM-1 for crossing from the United States to Mexico rather than shipping

first to WAGNER in Tennessee.

       Overt Act 25: On or about February 13, 2017, WAGNER sent $250 via PayPal

to MM-1 to facilitate the transportation of lizards (panther chameleons and bearded dragons)

from the United States to Mexico.

       Overt Act 26: On or about February 13, 2017, MM-1 electronically messaged CC-4 the

following regarding shipment of the lizards described in Overt Act 22:

       MM-1:                         On Tuesday I’ll receive your animals and send to you in
                                     Mexico City in your name.

       CC-4:                         Yes, I told it could be another name. Please.

       MM-1:                         But they are going to ask for ID.

       CC-4:                         Yes no problem, it belongs to a friend, I go with him and
                                     take an ID.

       MM-1:                         Tell me the name.

       CC-4:                         Manuel Adrian Rivas market

       MM-1:                         Very good.

       CC-4:                         Oh okay. How much will I owe you?

       MM-1:                         I think Jason is going to cover it.

                                               12
       Case 3:22-cr-01754-LS         Document 32      Filed 04/19/23      Page 13 of 25



       Overt Act 27: On or about February 14, 2017, WAGNER electronically messaged MM-

1 the following, regarding the chameleons described in Overt Act 22:

       WAGNER:                       I’m trying to pack up the chams now!!

       MM-1:                         This late?!

       WAGNER:                       Yes. I need to drop before 8.

       MM-1:                         Ok, hurry up.

       WAGNER:                       Ok, 10 young Panther chameleons are on their way to you.

       Overt Act 28: On or about February 14, 2017, MM-1 received the panther chameleons

and bearded dragons described in Overt Act 22 and transferred those to MM-2 for transport from

the United States to Mexico.

       Overt Act 29: On or about February 14, 2017, MM-2 transported the lizards described

in Overt Act 22 (panther chameleons and bearded dragons) from the United States to Mexico.

After the border crossing and prior to shipment, MM-1 and MM-2 electronically messaged

regarding details of the shipment.

       MM-2 to MM-1:                 Senor, today I did not manage to ship [the animals], I was
                                     late but in the morning they go on the 10 a.m. flight. What
                                     happened was I had to come by my car and go through
                                     steps again to pass them.

       Overt Act 30: On or about February 15, 2017, MM-2 shipped the lizards discussed in

Overt Act 22 to CC-4 via AeroMexico (air waybill #34046014).

       Overt Act 31: On or about February 16, 2017, WAGNER sent the following electronic

message to MM-1 to confirm that CC-4 had received the lizards described in Overt Act 22 in

Mexico City.

       WAGNER:                              [CC-4] said everything arrived perfect. Is very
                                            happy.

       MM-1:                                Yes friend. I am happy too.

                                               13
       Case 3:22-cr-01754-LS         Document 32         Filed 04/19/23     Page 14 of 25




               May 2017 sale and smuggling of wildlife into the United States

       Overt Act 32: On or about and between March 11, 2017, and May 3, 2017, MM-1 and

CC-2 electronically messaged the following, in which they discussed lizards (5 pairs of defensor

lizards) WAGNER purchased from CC-2, and which MM-1 transported from Mexico into the

United States and then shipped to WAGNER.

       CC-2:          …and 10 defensor for Jason . Right now I’m fixing a deal with the
                      chilangos for my part for them to buy some defensors. And they send you
                      the defensors and lamenactus. Is okay?

       MM-1:          Yes, let’s see if it’s true. I don’t believe them.

       CC-2:          The one from the Yucatan says he has 12 defensor ready…they are ready,
                      just captured yesterday. Already asked for the defensors. Arrive
                      tomorrow.

       MM-1:          [CC-3] how much do you get for the defensor?

       CC-2:          …getting 400, 500 best. 500 pair.

       MM-1:          Hey, 500 is a lot! How about 300 per pair.

       CC-2:          They can sell them 500 each. We investigate. [screenshot of defensor
                      internet sale post for $649.99]. [CC-3] will send you the defensors
                      tomorrow. After the defensors, we move on to Abronia.

       MM-1:          Are the defensors healthy?

       CC-2:          Yes. Arrived perfect.

       MM-1:          Males and females can be put in different bags and mark them?

       CC-2:          You have them? All 30 of them?

       MM-1:          Yes, I’m hydrating them. Let me count them.

       CC-2:          5 pairs for Jason. 5 pairs are for Jason that I pay you for like the past they
                      are arranged normally…

       MM-1:          There are only 23, but they look healthy. Yes, how many for Jason, 10?

       CC-2:          Yes. 5 males 5 females. You sent Jason everything?

                                                 14
       Case 3:22-cr-01754-LS         Document 32        Filed 04/19/23      Page 15 of 25



       MM-1:           The 5.5

       Overt Act 33: On or about February 22, 2017, WAGNER paid CC-2 $300 via PayPal as

a deposit for the lizards described in Overt Act 32.

       Overt Act 34: On or about and between April 30, 2017, and May 1, 2017, WAGNER

and MM-1electronically messaged the following regarding the lizards described in Overt Act 32:

       WAGNER:                                Hi! [CC-2] told me that he sent you a defensor
                                              group. Do you want to send them tomorrow? I
                                              believe there were five pairs. I can get you a label
                                              and some crossing money.

       MM-1:                                  Ok. Jason? Where is the label?

       WAGNER:                                I’m having problems getting my label. On the
                                              phone with UPS trying to resolve it.

       MM-1:                                  Would you like me to use USPS instead?

       WAGNER:                                If you prefer to do that. This time it would be ok
                                              for me. I will just pay you the cost.

       MM-1:                                  Ok, I’ll do it that way. Should I include any cold or
                                              heatpack? Jason WAGNER, 9093 Chardonnay
                                              Trace, Franklin, TN 37067 (615) 424-6050

       WAGNER:                                No. Weather is fine.


       Overt Act 35: On or about May 3, 2017, MM-1 shipped the lizards described in Overt

Act 32 from El Paso, Texas, to WAGNER in Franklin, Tennessee, via USPS package

“EL131763972US” and confirmed shipment via electronic message to WAGNER.

       WAGNER:         Hey did you ship yesterday

       MM-1:           No, I was late at the USPS, I repacked and shipped them today.
                       EL131763972US. Tomorrow before 3PM.

       WAGNER:         Ok thx




                                                 15
       Case 3:22-cr-01754-LS         Document 32        Filed 04/19/23       Page 16 of 25


       Overt Act 36: On or about May 3, 2017, WAGNER and MM-1 electronically messaged

the following, which include photographs, regarding the arrival of a shipment of lizards

described in Overt Act 32, and the poor physical condition of the lizards.

       MM-1:           Did you get them in good shape?

       WAGNER:         They arrived alive. But very skinny…which I know is not your fault.

       MM-1:           Do they look good. Skinny?

       WAGNER:         Also it looks like 8.2. Or 7.3. Not 5 pairs.

       MM-1:           Really?! Darn! I hydrated them well before shipping to you.

       WAGNER:         These guys don’t take good care of the animals. U can tell they haven’t
                       been fed well for weeks. From their body mass.

       MM-1:           I hope you can rehabilitate them.

       WAGNER:         I’ll do my best. Here’s a pic of one of the juvies that I have raised and
                       acclimated now for 6 months. And here’s one of the fresh imports…you
                       can immediately see the difference.

       MM-1:           I remember when I sent you those, they were tiny.


       Overt Act 37: On or about May 5, 2017, WAGNER paid MM-1 $145 for transporting

the lizards described in Overt Act 32, and for the cost of shipping the lizards to WAGNER in

Tennessee.

                       March 2018 sale and smuggling of wildlife into the United States

       Overt Act 38: On or about and between February 26, 2018, and March 7, 2018, MM-1

and CC-3 electronically messaged the following regarding a shipment of lizards WAGNER

purchased from CC-3:

       CC-3:           Tell me friend, I have to send some things to Jason this week, can you
                       support me?

       MM-1:           This week you send. Could you tomorrow?




                                                16
       Case 3:22-cr-01754-LS         Document 32        Filed 04/19/23     Page 17 of 25


       CC-3:           Tuesday. Friend, [CC-1] has things coming to you; I sent you several
                       Abronia my friend. There are 10 that go for Jason and 7 for another friend
                       in the US.

       MM-1:           Are they separate? Question?

       CC-3:           There are 5 in the blue tagged bag. The red and the calico lythrochila are
                       for Jason.

       MM-1:           Is the bag with the blue tags for Jason WAGNER? Jason’s lythros are 10
                       right?

       CC-3:           There are 10 lythrochila. The reds and calicos.

       Overt Act 39: On or about March 1, 2018, WAGNER sent CC-3 a partial payment of

$460.00 via MoneyGram (reference ID #53789151) for the lizards, described in Overt Act 38, he

purchased from CC-3.

       Overt Act 40: On or about March 7, 2018, MM-1 received the lizards described in Overt

Act 38, and then transported the lizards from Mexico into the United States.

       Overt Act 41: On or about March 8, 2018, WAGNER, MM-1, and CC-3 electronically

messaged the following regarding the lizards described in Overt Act 38 WAGNER purchased

from CC-3, as well as WAGNER’s request to MM-1 for help in concealing the transfer of funds

to CC-3:

       MM-1:           I worked ten nice litros [Abronia lythrochila] for you today.

       WAGNER:         Oh wow. Okay great. I need to send you funds and a label then.

       MM-1:           Please pitch in 200.

       WAGNER:         Yes. Btw if I send u extra funds to pass along to [CC-3]…are you able to
                       send to him from Mexico? My wife asked me to stop sending funds down
                       to Mexico…She’s concerned that I am leaving a digital history of
                       transactions…

       MM-1:           Yes I can. So please send me the shipping label tomorrow morning.

       WAGNER:         Okay great. Yes sir. Shall I send the $1000 for [CC-3] also? It’s what I
                       still owe him from this group of lythros. I will send his and your funds
                       right now.

                                                17
       Case 3:22-cr-01754-LS        Document 32      Filed 04/19/23       Page 18 of 25



       MM-1:         [to CC-3] Jason asked me to receive your payment and send it to you. Did
                     he tell you?

       CC-3          [to MM-1] He told me, can you be a friend, friend?

       MM-1:         Yes.

       Overt Act 42: On or about March 8, 2018, WAGNER electronically sent a pre-paid

UPS shipping label to MM-1 for the lizards described in Overt Act 38.

       Overt Act 43: On or about March 8, 2018, WAGNER sent MM-1 a $1200 payment via

PayPal with the following note on the memo line: “thanks (MM-1). $200 for you, the other

$1000 for [CC-3].”

       Overt Act 44: On or about March 9, 2018, WAGNER received the lizards described in

Overt Acts 38, which MM-1 shipped from El Paso, Texas, to WAGNER in Franklin, Tennessee,

which they confirmed with the following electronic messages:

       MM-1:         Shipped

       WAGNER:       Ok thz. They all arrived well. Thank you.

               June 2018 sale and smuggling of wildlife into the United States

       Overt Act 45: On or about June 13, 2018, WAGNER and MM-1 electronically

messaged each other the following regarding transferring money from WAGNER through MM-1

to CC-3 in Mexico.

       WAGNER:       Can you help me send funds to [CC-3]? Ok so if I PayPal u funds u have
                     a way to get them to [CC-3]…

       MM-1:         But yes, I am willing to help you with [CC-3’s] money.

       WAGNER:       Ok thx. How do you do it…if I send to your account. Do you u then cross
                     border and from Mexico send PayPal to him?

       MM-1:         No, I will use MoneyGram or something like it. Western Union Maybe.

       WAGNER:       Direct from your PayPal acct?


                                              18
       Case 3:22-cr-01754-LS         Document 32          Filed 04/19/23   Page 19 of 25


       MM-1:          No, I will have to cash it first.

       WAGNER:        So it takes a couple days. I will send $1250 to u…for him. And $50 extra
                      for you, to buy a nice dinner for your wife.

       MM-1:          Thanks.

       Overt Act 46: On or about June 13, 2018, WAGNER sent $1300 to MM-1 via PayPal,

with the following note on the PayPal transfer: “Para [CC-3],” and the following electronic

message:

       WAGNER:        Just sent the $1300. It’s for 6 lizards. $1250 for [CC-3].

       MM-1:          I just got it. They will be ready day after tomorrow, I think.

       Overt Act 47: On or about June 15, 2018, MM-1 sent $1250 to CC-3 via Western Union

(transaction number 7470452147), which he confirmed with the following electronic Message to

WAGNER:

       MM-1:          I just sent the money to [CC-3] via Western Union.

       WAGNER:        Ok thx.

       Overt Act 48: On or about and between June 26, 2018, and June 29, 2018, WAGNER

and MM-1 electronically messaged the following regarding WAGNER’s purchase of lizards

described in Overt Act 46:

       WAGNER:        Hey [MM-1] I’m working on a shipment from [CC-1] to go to u. Are you
                      able to retrieve a pkg either Wednesday night or Thursday for me?

       MM-1:          Yes.

       WAGNER:        Ok, thank you. [CC-1] said he sent it.

       MM-1:          Very good, please pitch in $250.00.

       WAGNER:        Do you need a label for Thursday to ship to me. Should be cool
                      packed…very hot right now, temps are 92 f.

       MM-1:          Yes, send me a label tomorrow.




                                                 19
       Case 3:22-cr-01754-LS        Document 32       Filed 04/19/23     Page 20 of 25


       WAGNER:        I sent now & 570. 250 for you. And 300 for [CC-1]. Plus 20 for your
                      effort to send funds to [CC-1].

       MM-1:          Thank you.

       WAGNER:        …And the 6 phrynosoma Taurus are for me. There are a total of 6 Taurus
                      that will come for me. 3 adults and three babies.

       MM-1:          Plus how many abros [Abronia]?

       WAGNER:        8. And 3 gerhonnotus.

       Overt Act 49: On or about June 27, 2018, WAGNER sent MM-1 $570 via PayPal for

lizards he purchased from CC-1, and WAGNER made the following note in connection with the

PayPal transfer: “300 for [CC-1], 250 for you [MM-1] and 20 for tip”.

       Overt Act 50: On or about June 28, 2018, WAGNER sent MM-1 a pre-paid UPS

shipping label via email to ship the lizards described in Overt Act 46 to WAGNER in Franklin,

Tennessee.

       Overt Act 51: On or about June 28, 2018, WAGNER and MM-1 sent the following

electronic messages regarding MM-1 retrieving the lizards, described in Overt Act 46,

WAGNER purchased from CC-1:

       WAGNER:        Did you get them already?

       MM-1:          Not yet, in a short while…Headed to Juarez now.

       WAGNER:        [Thumbs up emoji]

       Overt Act 52: On or about June 29, 2018, MM-1 shipped the lizards described in Overt

Act 46 via UPS from El Paso, Texas, to WAGNER in Franklin, Tennessee.

       Overt Act 53: On or about and between June 26, 2018, and June 29, 2018, WAGNER

and MM-1 electronically messaged the following and included photos regarding the condition of

the lizards WAGNER received:

       MM-1:          Did you get the animals?


                                                 20
      Case 3:22-cr-01754-LS           Document 32      Filed 04/19/23      Page 21 of 25


      WAGNER:          My wife was at home and unpacked the animals into plastic bins until I
                       can get home after work. She said all the baby Taurus in the juice bottle
                       arrived doa. Which made me sad. Summer is a tough time to ship.

      MM-1:            All? Damn!!!

      WAGNER:          Yea. Did you get any pics while at your place? Would have loved to see
                       them alive.

      MM-1:            CC-3 says it was someone else’s [Abronia] smithi, not his.

      WAGNER:          I had another friend send a couple animals…I will advise him to use socks
                       not bottles.


           February 2019 sale and smuggling of wildlife into the United States

      Overt Act 54: On or about and between February 12, 2019, and February 21, 2019,

WAGNER and MM-1 sent the following electronic messages regarding lizards WAGNER

purchased from CC-1:

      WAGNER:          Can we arrange another shipment of Abronia. Would be small.

      MM-1:            Fine.

      WAGNER:          Ok thx. [CC-1] will contact you. I believe he plans to send them to you

                       tomorrow. Shipment with [CC-1] tomorrow is confirmed.

      MM-1:            Yes. Do I need to include some heat packs?

      WAGNER:          Sure. Not a bad idea. Temps are 40-50. Are the [Abronia] frosti packed

                       separate from the [Abronia] graminea? Meaning not in same cloth bags

                       all together…in same.

      MM-1:            There are a bunch of bags.

      Overt Act 55: On or about February 13, 2019, WAGNER sent an electronic pre-paid

UPS shipping label (#1Z4981RA0194846620) to MM-1 for the lizards discussed in Overt Act

54.




                                                21
       Case 3:22-cr-01754-LS         Document 32       Filed 04/19/23     Page 22 of 25


       Overt Act 56: On or about and between February 19, 2019, and February 20, 2019,

MM-1 retrieved the lizards described in Overt Act 54 WAGNER purchased from CC-1, and

transported the lizards from Mexico into the United States.

       Overt Act 57: On or about February 21, 2019, MM-1 shipped the lizards described in

Overt Act 54 from El Paso, Texas, to WAGNER in Franklin, Tennessee.

       Overt Act 58: On or about February 21, 2019, WAGNER sent the following electronic

message to MM-1 regarding receipt of the lizards described in Overt Act 54: “all arrived well”.

       Overt Act 59: On or about February 21, 2019, WAGNER sent MM-1 $1175 via PayPal

with a note attached that said “325 [CC-1]. 600 [CC-3]. 250 [MM-1],” along with the following

electronic message: “I am going to send you funds for [CC-3] and [CC-1]. $325 a [CC-1]. $600

a [CC-3]. $250 you.”

       Overt Act 60: On or about February 27, 2019, CC-1 electronically messaged MM-1

regarding MM-1 transporting and depositing the $325 payment MM-1 received from WAGNER

to a bank in Mexico.

       Overt Act 61: On or about and between February 26, 2019, and February 27, 2019, CC-

3 electronically messaged MM-1 regarding a $600 payment MM-1 received from WAGNER to

deliver to CC-3, and which MM-1 then sent to CC-3 via Western Union.

            December 2019 sale and smuggling of wildlife into the United States

       Overt Act 62: On or about and between December 2, 2019, and December 7, 2019,

WAGNER and CC-1 exchanged the following electronic messages regarding lizards, including

South African ground geckos, Black girdled lizards, Southern Karusa lizards, Northern Pilbara

rock monitors, Armadillo girdled lizards, and Abronia lizards, WAGNER purchased from a

supplier in Europe and then arranged to be sent from Europe to Mexico for transport into the

United States and delivery to WAGNER:


                                               22
        Case 3:22-cr-01754-LS           Document 32       Filed 04/19/23    Page 23 of 25


        WAGNER:         Hello friend. I organizing a shipment with MA and [CC-3] for December
                        8-9 [2019]. Both of them will have animals.

        CC-1:           Sure friend.

        WAGNER:         Ok, I’ll organize with MA and [CC-3]…[CC-3] and MA should send the
                        animals tomorrow. Have you had any communication?

        CC-1:           No friend.

        WAGNER:         Ok, because they should communicate tomorrow. Where can you meet to
                        pick up the delivery? They will arrive at DF at 5 or 6 this afternoon.

        CC-1:           I already received friend.

        WAGNER:         Ok good! I think [CC-3] also delivers to you today. And [MM-1] is
                        pending to receive from you.

        CC-1:           Ok.

        Overt Act 63: On or about December 9, 2019, WAGNER created a pre-paid UPS

shipping label (#1Z4981RA0190075809).

        Overt Act 64: On or about December 11, 2019, WAGNER received the lizards described

in Overt Act 62 he purchased from a supplier in Europe.

        All in violation of Title 18, United States Code, Section 371.


                                         COUNTS 2 – 13
                                  Smuggling into the United States
                                     (18 U.S.C. §§ 545 and 2)

        18.     Paragraphs 1 through 9 of the Grand Jury’s Indictment are incorporated herein by

reference as if set forth in their entirety.

        19.     On or about the dates listed below, each date representing a separate count, in the

Western District of Texas and elsewhere,

                                        JASON LEE WAGNER,

defendant herein, did knowingly import and caused to be imported and brought into the United

States, merchandise, specifically the wildlife listed below, contrary to laws and regulations of the

                                                     23
       Case 3:22-cr-01754-LS          Document 32        Filed 04/19/23     Page 24 of 25


United States, and received, concealed, bought, sold, and in any manner facilitated the

transportation, concealment, and sale of such merchandise after importation, knowing the same

to have been imported and brought into the United States contrary to laws and regulations of the

United States, by, among other things, knowingly failing to make the required declaration and

obtain the required authorization to import such items into the United States, in violation of Title

16, United States Code, Section 1538(e); and Title 50, Code of Federal Regulations, Sections

14.11, 14.52, and 14.61.

                                              Table 1

 COUNT DATES                       WILDLIFE



 2           January 30, 2018      Mixtecan arboreal alligator lizard (Abronia mixteca)

 3           February 7, 2018      Campeche spiny-tailed iguana (Cachryx alfredschmidti)

 4           March 9, 2018         Red-lipped arboreal alligator lizard (Abronia lythrochila)

 5           May 4, 2018           Abronia sp., Campeche spiny-tailed iguana (Cachryx
                                   alfredschmidti)

 6           June 29, 2018         Mexican horned lizard (Phrynosoma Taurus); Martin del
                                   Campo’s arboreal alligator lizard (Abronia martindecampoi);
                                   Abronia sp., Alligator lizard (Gerrhonotus ophiurus)

 7           July 13, 2018         Short-tail horned lizard (Phrynosoma braconniere)

 8           August 26, 2018       Mexican horned lizard (Phrynosoma Taurus); Red-lipped
                                   arboreal alligator lizard (Abronia lythrochila); Smith’s arboreal
                                   alligator lizard (Abronia smithi); Alligator lizard (Gerrhonotus
                                   ophiurus)

 9           September 6, 2018     Smith’s arboreal alligator lizard (Abronia smithi)

 10          November 3, 2018      Alligator lizard (Gerrhonotus ophiurus); Bell’s false brook
                                   salamander (Isthmura bellii)

 11          December 10,          Abronia sp.
             2018

 12          February 21, 2019     Terrestrial arboreal alligator lizard (Abronia graminea);

                                                 24
Case 3:22-cr-01754-LS   Document 32   Filed 04/19/23   Page 25 of 25
